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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:07CR3079
           v.                        )
                                     )
JOSE ROMO-CORRALES,                  )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion to extend date, filing 28, is granted in
part and the deadline for filing pretrial motions is extended to
October 22, 2007.


     DATED this 21st day of September, 2007.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
